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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS


 UNITED STATES OF AMERICA,
                      Plaintiff,


                      vs.                            Case No. 13-10112-03-JTM


 ANTOINE BEASLEY,
                      Defendant.




                             MEMORANDUM AND ORDER


       On the basis of recently-acquired information, the government moved for attorney

fees from defendant Antoine Beasley. (Dkt. 553). Citing evidence strongly suggesting that

Beasley is not indigent, the government seeks an order requiring compensation for the

amount expended to provide him with an attorney at no charge. Subsequently, the

government filed a supplemental motion (Dkt. 556), supplying additional information.

       The court conducted a hearing in which the parties argued the government’s

motions, and allowed both the government and defendant an opportunity to submit

additional briefing on the issue.

       The relief sought by the government is unusual, but the law is straightforward. If

a defendant charged with a felony is indigent, he is entitled to a court-appointed attorney

at government expense. However, if it is later discovered that the defendant was not
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indigent, or if he obtained substantial funds in the interim, he may be required to

reimburse the government for the cost of his court-appointed attorney. If the government

provides evidence casting doubt on a defendant’s inability to afford counsel, the defendant

has the burden of coming forward with evidence rebutting the government’s evidence.

United States v. Allen, 596 F.2d 227, 232 (7th Cir.), cert. denied, 444 U.S. 871 (1979).

       The court will consider factors including the accessability of defendant’s assets,

whether he would suffer hardship if deprived of the assets, and his and his family’s needs.

United States v. Simmers, 911 F.Supp. 483, 486 (D.Kan., 1995) (citing United States v. Bracewell,

569 F.2d 1194 (2d Cir. 1978)). Here, the government has provided such evidence.

       Antoine Beasley made his initial appearance on April 11, 2014, and reported that he

was indigent and required court-appointed counsel. The court granted his request. The

Financial Affidavit submitted by the defendant states that his monthly income from his

employment with a real estate investment firm is $2,000, and that he has monthly expenses

of $750. (Dkt. 76).

       Slightly over a year later, according to information now presented by the

government, Beasley purchased a luxury automobile, a 2015 Audi A7 3.0T Quattro. The

MSRP for this vehicle was $67,163, but with the added optional equipment, the purchase

price was $7,715.00. In conjunction with the purchase, Beasley completed a credit

application in which he reported that his monthly income was $10,000.00. This income was

reported separately from his wife (Patrice Beasley Duncan) which was listed as $3,588.00

per month.


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       Beasley then made monthly payments on the Audi, but not by electronic transfer or

by bank checks. Rather, according to the government, Beasely made the payments of

$1,347.62 each month by exchanging cash for money orders at Dillons. On each occasion,

Beasley obtained two money orders: one for $1,000, and one for $347.62.

       The defendant and his wife have two additional vehicles, a 2006 Chevy and a 2008

Ford. Both are in working condition and lien-free, although defendant asserts in his brief

the vehicles have high mileage.

       The information submitted by the government in its first supplemental motion is a

set of grocery store money orders made out to Audi Financial Services, which collectively

indicate that Beasley began to significantly increase the payments on the Audi in 2017. In

March, he made $4,000 in total payments, and in April a total of $5,000. In each month, the

payments were made by separate $1,000 payments.

       The defendant’s brief in opposition asserts that defendant makes some $1,500 per

month managing rental housing, and his wife brings home $3,500 working as a teacher. His

assertion is not supported by any affidavit or other evidence.

       After reviewing the material submitted by the parties, the court finds the

government has presented prima facie evidence that Antoine Beasley was not indigent

during the time of his court-appointed representation.

       In his response, the defendant stresses the complexity of the case(Dkt. at 3-5) and

that, after the government seized some $500,000.00 in cash at the time of his arrest, he was

without any funds at the time of his indictment to employ counsel. The defendant also, as


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he did at the hearing, invokes the doctrine of laches, but expands upon it, arguing that not

only the government but “the Court is collaterally estopped from ordering him to repay

any of the attorney fees in the case.” Id. at 5. Beasley argues that the fact of his indigence

cannot be reviewed because the court entered judgment as to his sentence.

       Notwithstanding defendant’s arguments, the fact remains that defendant bought,

financed, and paid for a luxury car while he was also receiving government-funded free

legal services, based on the representation of limited financial resources. The evidence

before the court establishes that defendant does have “specific funds, assets, or asset

streams (or the fixed right to those funds, assets or asset streams) that are (1) identified by

the court and (2) available to the defendant for the repayment of the court-appointed

attorneys fees.” United States v. Moore, 666 F.3d 313, 322 (4th Cir.2012).

       The government has submitted evidence demonstrating the purchase of the Audi,

the monthly payments during most of the loan period, and the substantial increase in

payments as plea discussions and sentencing approached. In contrast, defendant has

submitted no evidence in response, either at the October 11 hearing or in his subsequent

brief. Statements made by counsel in a brief are not evidence. Accordingly, the defendant

has failed in his burden of proof to rebut the government’s prima facie case.

       As to the defendant’s equitable or jurisdictional arguments, the court first rejects the

defendant’s arguments that the government is estopped from see,ing relief because the

timing of its motion precluded him from mitigating his damages. There is no evidence of

any substantial delay by the government subsequent to its discovery of Beasley’s Audi. The


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government within a reasonable period of time alerted Beasley that it was aware of the

Audi. Defendant, however, took no contemporaneous action to inform the court. To the

extent that defendant might have mitigated his damages by selling the Audi or otherwise

compensating the United States earlier this year, the doctrine applies equally to him.

       As indicated earlier, in his supplemental brief, the defendant also argues that not

only the government but also “this Court is collaterally estopped from ordering him to

repay any of the attorney fees in this case.” (Dkt. 566, at 5). However, the defendant is not

in a position to argue for equitable relief. In his financial affidavit, he represented his total

household earnings were approximately $2,000. (Dkt. 76). His brief in opposition to the

government’s motion indicates monthly income of $5,000. In the credit application for

purchase of the Audi, he indicated his monthly income was $10,000.

       Defendant remained silent while enjoying a stream of income substantially in excess

of his earlier representation to court. Having done so, he is no position to now plead for

equitable relief.

       The court retains the power to grant the relief sought by the government. The

October 12, 2017 Judgment (Dkt. 559) makes no reference to the issue of reimbursed

attorney fees. And while the court approved the Presentence Report and indicated it would

impose no fine because it was either “waived or below the guideline range because of

inability to pay,” this related only to the decision to impose no fine. (Dkt. 560, at 1). The

court made no findings that defendant should be excused from reimbursement of fees.

       And prior to the Judgment and Statement of Reasons, the court had already


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explicitly announced that it would grant the government’s motions at least in part. In the

October 11, 2107 hearing, which preceded the Judgment, the court reserved ruling on the

amount of reimbursement pending additional briefing, but nevertheless expressly ruled “I

am going to order that at least some portion of the fees be repaid.” (Dkt. 564 at 4).

       The defendant made no objection to reserving the amount for a later date. To the

extent any claim of waiver applies, it is the defendant who has waived objection to the

present order fixing the amount of reimbursement.

       Most importantly, however, an order of reimbursement is not constrained by the

judgment in defendant’s criminal prosecution. The Civil Justice Act itself expressly

authorizes the present order. Under 18 U.S.C. § 3006A(f), the court may order

reimbursement “[w]henever [it] finds that funds are available for payment from on behalf

of a person furnished representation.”

       An order requiring the reimbursement of attorney fees “must be regarded as an

independent civil liability imposed by the court pursuant to 18 U.S.C. § 3006A(f),” and thus

“the reimbursement order is not part of the sentence.” United States v. Standiford, 148 F.3d

864, 870 (7th Cir. 1998). Orders issued pursuant to § 3006A(f) are administrative in nature,

and may be issued even while a case is on direct appeal. See United States v. Medford, 608

F.Supp.2d 709, 713-14 (W.D.N.C. 2009) (rejecting defendant’s jurisdictional argument, and

holding that, as an administrative determination “it is this Court, and only this Court, that




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is vested with the authority to resolve the CJA issue in question”).1

       The government suggests a number potential remedies, from requiring repayment

of all expenses incurred by defendant’s counsel, to for the amount of vouchers submitted

by counsel since the purchase of the vehicle in August, 2015, or for the amount paid on the

vehicle. (Dkt. 565, at 5-6). Considering all the evidence presented in the matter, the court

in its discretion concludes that the defendant shall reimburse the government for the

amount expended on the Audi from the time of its purchase. The court hereby directs and

orders defendant to pay to the United States Treasury $34,649.00.

       IT IS ACCORDINGLY ORDERED this 31st day of October, 2017 that the

government’s Motions for Fees (Dkt. 553, 556, 565) are hereby granted as provided herein.




                                                  ___s/ J. Thomas Marten_____
                                                  J. THOMAS MARTEN, JUDGE




       1
         See also United States v. Homrighausen, 366 Fed.Appx. 76 (11th Cir. 2010) (noting
district court required reimbursement on remand after direct appeal); Museitef v. United
States, 131 F.3d 714, 715 (8th Cir. 1997) (district court issued § 3006A(f) order requiring
reimbursement after trial resulting in acquittal); United States v. Griggs, 240 F.3d 974, 974
(11th Cir. 2001)(reimbursement orders under § 3006A(f) are administrative matters
reserved to the discretion of the district court and “are unrelated to the outcome of the
case”).



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